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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

BODYGUARD PRODUCTIONS, INC.
                                            Plaintiff,
v.                                                        Case No.: 1:17−cv−07671
                                                          Honorable John Robert Blakey
Doe No. 14, et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 18, 2018:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the filing
of the notice of voluntary dismissal [26], Doe Defendant No. 5 is hereby dismissed with
prejudice. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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